Case 1:17-cv-00361-WMS-LGF Document 40-18 Filed 10/31/18 Page 1 of 3




                       EXHIBIT 16
     Case 1:17-cv-00361-WMS-LGF Document 40-18 Filed 10/31/18 Page 2 of 3




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
MARK K. MACRIS,
                                                                          Case No. 17-cv-00361-WMS
                                              Plaintiffs,

                 -against-                                                NOTICE OF DEPOSITION

EXPERIAN INFORMATION SOLUTIONS, INC. and
SPECIALIZED LOAN SERVICING, LLC,

                                              Defendants.
--------------------------------------------------------------------X
COUNSELORS:

        PLEASE TAKE NOTICE, that pursuant to the Fed. R. Civ. P. 26 and 30, counsel for

Defendant Specialized Loan Servicing, LLC (“Defendant SLS”), hereby provides notice that it

will take the testimony by deposition upon oral examination of Plaintiff Mark K. Macris

(“Plaintiff”) on Wednesday, April 25, 2018 at 10:00 AM, at The Law Offices of Kenneth

Hiller, 600 Bailey Avenue, Suite 1A, Amherst, New York 14226, concerning the claims alleged

in Plaintiff’s Complaint. The deposition shall be taken under oath before an officer authorized to

administer oaths and shall be recorded by stenographic means. The deposition shall be used for

all purposes permitted under the Federal Rules of Civil Procedure.

Dated: April 18, 2018
       New York, New York
                                                              McGLINCHEY STAFFORD

                                                              By: /s/ Brian S. McGrath
                                                                  Brian S. McGrath, Esq.
                                                                  112 W. 34th Street, Suite 1515
                                                                  New York, New York 10120
                                                                  Tel: (646) 362-4051
                                                                  E-mail: bmcgrath@mcglinchey.com
                                                                   Attorneys for Defendant,
                                                                   Specialized Loan Servicing, LLC
    Case 1:17-cv-00361-WMS-LGF Document 40-18 Filed 10/31/18 Page 3 of 3




                              CERTIFICATE OF SERVICE

      I, Roshene A. Kemp, certify that on April 18, 2018, I caused the foregoing Notice of

Deposition to be served by email upon the following counsel: for Plaintiff, Seth Andrews

(sandrews@kennethhiller.com); and for Defendant Experian Information Solutions, Inc., Diana

L. Calla (dcalla@jonesday.com).



                                                       By: /s/ Roshene A. Kemp
                                                          Roshene A. Kemp, Esq.




                                            2
